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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 MELANIE DAVIS, on behalf of herself and           Civil Case No.: 18-cv-81004
 all others similarly situated,

                       Plaintiff,
 v.

 POST UNIVERSITY, INC.,

                       Defendant.

                       MOTION TO APPEAR PRO HAC VICE,
                   CONSENT TO DESIGNATION, AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        In accordance with Local Rules 4(b) of the Special Rules Governing the Admission and

 Practice of Attorneys of the United States District Court for the Southern District of Florida, the

 undersigned respectfully moves for the admission pro hac vice of Jeremy M. Glapion of the law

 firm of Glapion Law Firm, located at 1704 Maxwell Drive, Wall, NJ 07719, telephone number

 732-455-9737, for purposes of appearance as co-counsel on behalf of Melanie Davis in the

 above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to

 permit Jeremy M. Glapion to receive electronic filings in this case, at his email address

 jmg@glapionlaw.com, and in support thereof states as follows:

        1.      Jeremy M. Glapion is not admitted to practice in the Southern District of Florida

 and is a member in good standing of, among others, the bars of New Jersey and New York.

        2.      Movant, Bradford Rothwell Sohn, Esquire, of the law firm of The Brad Sohn Law

 Firm, PLLC, is a member in good standing of The Florida Bar and the United States District

 Court for the Southern District of Florida and is authorized to file through the Court’s electronic

 filing system. Movant consents to be designated as a member of the Bar of this Court with

 whom the Court and opposing counsel may readily communicate regarding the conduct of the
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 case, upon whom filings shall be served, who shall be required to electronically file and serve all

 documents and things that may be filed and served electronically, and who shall be responsible

 for filing and serving documents in compliance with the CM/ECF Administrative Procedures.

 See Section 2B of the CM/ECF Administrative Procedures.

       3.      In accordance with the local rules of this Court, Jeremy M. Glapion has made

payment of this Court’s $75 admission fee. A certification in accordance with Rule 4(b) is

attached hereto.

       4.      Jeremy M. Glapion, by and through designated counsel and pursuant to Section 2B

CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

Filings to Jeremy M. Glapion at email address: jmg@glapionlaw.com

       WHEREFORE, Bradford Rothwell Sohn, moves this Court to enter an Order Jeremy M.

Glapion, to appear before this Court on behalf of Melanie Davis, for all purposes relating to the

proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

filings to Jeremy M. Glapion.

Date: July 31, 2018             Respectfully submitted,



                                        s/ Bradford R. Sohn
                                       Bradford R. Sohn
                                       Fla. Bar No. 98788
                                       brad@sohn.com
                                       The Brad Sohn Law Firm PLLC
                                       2600 South Douglas Road, Suite 1007
                                       Coral Gables, Florida 33134
                                       Tel: 786.708.9750
                                       Fax: 305.397.0650
                                       Attorneys for Plaintiff
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


MELANIE DAVIS, on behalf of herself and         Civil Case No.: 18-cv-81004
all others similarly situated,

                     Plaintiff,
v.

POST UNIVERSITY, INC.,

                     Defendant.


                      CERTIFICATION OF JEREMY M. GLAPION

       Jeremy M. Glapion, Esquire, pursuant to Rule 4(b) of the Special Rules Governing the

Admission and Practice of Attorneys, hereby certifies that (1) I have studied the Local Rules of

the United States District Court for the Southern District of Florida; and (2) I am a member in

good standing of the bars of New Jersey and New York, including the District of New Jersey.



                                                                          s/ Jeremy M. Glapion
                                                                              Jeremy M. Glapion
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Appear

 Pro Hac Vice, Consent to Designation and Request to Electronically Receive Notices of

 Electronic Filings was served by the ECF filing system and via certified mail on July 31, 2018,

 on all counsel or parties of record on the service list.

Date: July 31, 2018                                     Respectfully submitted,



                                                                s/ Bradford R. Sohn
                                                               Bradford R. Sohn
                                                               Fla. Bar No. 98788
                                                               brad@sohn.com
                                                               The Brad Sohn Law Firm PLLC
                                                               2600 South Douglas Road, Suite 1007
                                                               Coral Gables, Florida 33134
                                                               Tel: 786.708.9750
                                                               Fax: 305.397.0650
                                                               Attorney for Plaintiff
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                                  Case No.: 18-cv-81004

                                    SERVICE LIST



Post University
c/o Corporation Service Company
50 Weston Street
Hartford, CT 06120
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

MELANIE DAVIS, on behalf of herself and            Civil Case No.: 18-cv-81004
all others similarly situated,

                        Plaintiff,
v.

POST UNIVERSITY, INC.,

                        Defendant.

                     ORDER GRANTING MOTION TO APPEAR
            PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
           ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

Jeremy M. Glapion, Consent to Designation, and Request to Electronically Receive Notices of

Electronic Filing (the “Motion”), pursuant to the Special Rules Governing the Admission and

Practice of Attorneys in the United States District Court for the Southern District of Florida and

Section 2B of the CM/ECF Administrative Procedures. This Court having considered the motion

and all other relevant factors, it is hereby

         ORDERED AND ADJUDGED that:

         The Motion is GRANTED. Jeremy M. Glapion, may appear and participate in this action

on behalf of Plaintiff Melanie Davis. The Clerk shall provide electronic notification of all

electronic filings to Jeremy M. Glapion, at jmg@glapionlaw.com.

         DONE AND ORDERED in Chambers at                                            , Florida, this

day of                                         .


                                                                      United States District Judge

Copies furnished to: All Counsel of Record
